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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------- x
UNITED STATES OF AMERICA,           :
                                    :                 20-cr-148 (JSR)
                -v-                 :
                                    :
JUAN FERMIN,                        :                       ORDER
                                    :
        Defendant.                  :
----------------------------------- x

JED S. RAKOFF, U.S.D.J.

     The defendant Juan Fermin shall surrender by 11:00 a.m. on

January 13, 2021 to the custody of the United States Marshal

Service at the United States Courthouse at 500 Pearl Street, New

York, New York 10007.

     SO ORDERED.

Dated:      New York, NY                        _______________________
            January 12, 2021                    JED S. RAKOFF, U.S.D.J.
